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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

LOABAT AMIRI, et al.,

             Plaintiffs,                       Civil No. 17-12188
                                               Hon. Thomas L. Ludington
v.                                             Mag. Judge Patricia T. Morris

KIRSTJEN NIELSEN, et al.,1

          Defendants.
____________________________________/

                DEFENDANTS’ REPLY TO PLAINTIFFS’
     FILING OF A BOARDING FOIL PER THIS COURT’S ORDER

       On January 12, 2018, Dkt. 31 at 2, this Court granted Defendants permission

to reply to Plaintiffs’ filing of a document marked “NOT A VISA” from an

unknown individual with no apparent connection to this case. See Dkt. 30-1

(emphasis original). The document Plaintiffs filed appears to be a document

known as a “boarding foil.” See Dkt. 30-1.

       As stated on its face, the boarding foil is not a visa, but rather a document

prepared at the request of the Department of Homeland Security (“DHS”) that

effectively enables an individual without a proper travel document, such as a valid

passport with an unexpired visa, to board an airplane to the United States without

1
 Secretary Nielsen is automatically substituted for Deputy Secretary Duke
pursuant to Federal Rule of Civil Procedure 25(d).
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the airline incurring liability for transporting an alien without a visa to the United

States. See 8 U.S.C. § 1323 (regarding carrier liability). A boarding foil is

prepared under a handful of circumstances (such as when a lawful permanent

resident is returning from temporary overseas travel of less than one year and their

Green Card has been lost, stolen, or destroyed). The current practice is that the

individual completes an I-131A, Application for Travel Document (Carrier

Document). Upon request, Defendants will provide additional documents

regarding this form and the application process.2

      However, the boarding foil has no bearing on any issue in the present

litigation. See Dkt. 30-1. Mr. Latif is not a lawful permanent resident and has not

alleged that he has been denied a boarding foil. Rather he is an individual who is

challenging the decision of a consular officer to deny him a visa. See Dkt. 19; see

generally, 8 U.S.C. § 1201(a) (authorizing consular officers to issue visas); 22

C.F.R. §§ 42.51-63, 65-67, 71-81 (the U.S. Department of State’s regulations

governing the issuance and refusal of visas).3 Defendants argue that this Court


2
  The boarding foil has no impact on any claim Dr. Amiri might have because, but
her own admission, she has not been denied any immigration benefit. See Dkt. 19
at ¶¶ 34-35, 46.
3
   Generally, an immigrant shall not be admitted into the United States unless at
the time of application for admission the individual has a valid unexpired
immigrant visa or was born subsequent to the issuance of such visa of the
accompanying parent. See 8 U.S.C. § 1181(a). To the extent Plaintiffs contend

                                           2
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lacks jurisdiction over this type of challenge under the doctrine of consular

nonreviewability and Kerry v. Din, 135 S.Ct. 2128 (2015). See Dkt. 20 at 11, 16-

19. The boarding foil Plaintiffs submitted has no bearing on the decision of the

consular officer or the process by which this decision was made.

      In sum, a document from an individual - unrelated to the present litigation -

marked “NOT A VISA” is not relevant to whether this Court has jurisdiction to

review a consular officer’s decision denying a visa. See Dkt. 30-1.

Dated: January 19, 2018                         Respectfully submitted,

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that it is DHS that is responsible for the issuance of visas, this is obviously not
correct. See 8 U.S.C. § 1103 (detailing the responsibilities of DHS); 8 U.S.C. §
1201(a)(1) (detailing the responsibilities of consular officers); see generally Din,
135 S.Ct. at 2131(describing the visa process generally).
                                          3
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                        CERTIFICATION OF SERVICE

      I hereby certify that on January 19, 2018, I electronically filed the foregoing

with the Clerk of Court by using the CM/ECF system, which will provide

electronic notice and an electronic link to this document to the attorneys of record.


                                   By: /s/ Aaron Goldsmith
                                      AARON S. GOLDSMITH
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